               Case 2:11-cr-00365-GEB Document 344 Filed 08/13/14 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     RONALD REEVES
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-365-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     RONALD REEVES,                                  )
                                                     )
13
                                                     )       Date: September 19, 2014
                                                     )       Time: 9:00 a.m.
14
             Defendant.                              )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Justin Lee, Assistant
18

19   United States Attorney, together with counsel for defendant Ronald Reeves, John R. Manning,

20   Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on August 15, 2014.
22
          2. By this stipulation, the defendant now moves to continue the status conference until
23

24
     September 19, 2014 and to exclude time between August 15, 2014 and September 19, 2014

25   under the Local CodeT-4 (to allow defense counsel time to prepare).
26
          3. The parties agree and stipulate, and request the Court find the following:
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      Case 2:11-cr-00365-GEB Document 344 Filed 08/13/14 Page 2 of 3


     a. Counsel for the defendant needs additional time to review the discovery, conduct
 1

 2      investigation, and continue negotiations with prosecution in an effort to reach a

 3      resolution.
 4
     b. Currently the discovery in this case includes 129 pages and two video DVDs.
 5
     c. Counsel for the defendant has recently provided the government with numerous
 6

 7
        documents relating to the defendant. The government needs time to review the

 8      material and the parties need additional time to discuss a plea agreement. The
 9      defense will need additional time to: meet with the defendant to review the proposed
10
        agreement; discuss statutory and USSG implications associated with the agreement;
11
        discuss consequences associated with a guilty plea (or verdict); discuss possible
12

13      defenses; discuss trial scenarios; and, options going forward. The parties have

14      discussed this case at length and it is anticipated a draft plea agreement will be
15
        provided shortly.
16
     d. Counsel for the defendant believes the failure to grant a continuance in this case
17
        would deny defense counsel reasonable time necessary for effective preparation,
18

19      taking into account the exercise of due diligence.

20   e. The Government does not object to the continuance.
21
     f. Based on the above-stated findings, the ends of justice served by granting the
22
        requested continuance outweigh the best interests of the public and the defendant in a
23
        speedy trial within the original date prescribed by the Speedy Trial Act.
24

25   g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

26      Section 3161(h)(7)(A) within which trial must commence, the time period of August
27
        15, 2014 to September 19, 2014, inclusive, is deemed excludable pursuant to 18
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              Case 2:11-cr-00365-GEB Document 344 Filed 08/13/14 Page 3 of 3


                United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
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 2              Local Code T-4 because it results from a continuance granted by the Court at

 3              defendant’s request on the basis of the Court’s finding that the ends of justice served
 4
                by taking such action outweigh the best interest of the public and the defendant in a
 5
                speedy trial.
 6

 7
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the

 8   Speedy Trial Act dictate that additional time periods are excludable from the period within which
 9   a trial must commence.
10

11
        IT IS SO STIPULATED.
12

13
     Dated: August 12, 2014                                       /s/ John R. Manning
14                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
15
                                                                  Ronald Reeves
16
     Dated: August 12, 2014                                       Benjamin B. Wagner
17                                                                United States Attorney
18
                                                          by:     /s/ Justin Lee
19                                                                JUSTIN LEE
                                                                  Assistant U.S. Attorney
20

21
                                                 ORDER
22

23          IT IS SO FOUND AND ORDERED.
24   Dated: August 12, 2014

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